            Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 1 of 10




Joseph M. Alioto (SBN 42680)
Tatiana V. Wallace (SBN 233939)
ALIOTO LAW FIRM
One Sansome Street, 35th Floor
San Francisco, CA 94104
Telephone: (415) 434-8900
Email: jmalioto@aliotolaw.com
Attorneys for Plaintiffs

[Additional Counsel Listed on Last Page]


                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,                             Case No.: 23-cv-00459-VC


                Plaintiffs,                           REVISED STIPULATED REQUEST FOR
                                                      AN ORDER MODIFYING BRIEFING
       v.                                             SCHEDULE AND HEARING DATES FOR
                                                      PLAINTIFFS’ MOTION FOR
Kroger Co., Albertsons Companies, Inc.,               PRELIMINARY INJUNCTION AND
and Cerberus Capital Management, L.P.,                DEFENDANTS’ MOTIONS TO DISMISS;
                                                      [PROPOSED ORDER]
                Defendants.




                                         STIPULATION


       Pursuant to Local Rule 6-2, IT IS HEREBY STIPULATED by and between Plaintiffs

and Defendants The Kroger Co. (“Kroger”), Albertsons Companies, Inc. (“Albertsons”) and

Cerberus Capital Management, L.P. (collectively, the “Parties”), by and through their respective

attorneys of record that, if the Court approves, the hearing date for Plaintiffs’ Motion for a

Preliminary Injunction (ECF No. 28), filed March 23, 2023 (“PI Motion”) shall be modified as

                                                  1
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
            Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 2 of 10




follows: the PI Motion shall be heard on July 27, 2023, or as soon thereafter as the Court may

deem appropriate.

       In addition, IT IS HEREBY STIPULATED by and between the Parties, by and through

their respective attorneys of record that, if the Court approves, the briefing schedule and hearing

date for Defendants’ Motions to Dismiss (ECF Nos. 40, 42 and 48), filed April 12 and 13, 2023

(“Motions to Dismiss”) shall be modified as follows: (1) Plaintiffs’ Opposition to Defendants

Motions to Dismiss shall be due May 11, 2023; (2) Defendants’ Replies in Support of the Motions

to Dismiss shall be due May 25, 2023; and (3) the Motions to Dismiss shall be heard on July 27,

2023, or as soon thereafter as the Court may deem appropriate.

       In support of the stipulation, the Parties state as follows:

       1.       On February 2, 2023, Plaintiffs Christine Whalen, Gabriel Garavanian, Sondra K.

Russell, Pamela Faust, Lisa McCarthy, Katherine R. Arcell, June Stansbury, Timothy Niebor,

Clyde D. Stensrud, Len Marazzo, Yvonne Jocelyn Gardner, Pamela S. Ward, Brenda K. Davis,

Jose M. Brito, Don Freeland, Harry Garavanian, Bill Rubinsohn, Valarie Ann Jolly, Michael C.

Malaney, Carolyn Fjord, Jan-Marie Brown, Gary Talewsky, Deborah M. Pulfer, Donna Fry, and

Rosemary D’Augusta (together “Plaintiffs”) filed a complaint (the “Complaint”) against Kroger,

Albertsons, and Cerberus Capital Management, L.P. (“Cerberus”) in Case No. 3:23-cv-459.

       2.       On February 23, 2023, the Defendants Kroger and Albertsons entered into a

stipulation with Plaintiffs extending the time for Kroger and Albertsons to answer or otherwise

respond to the Complaint by 45 days, from March 1, 2023, to April 17, 2023.

       3.       Defendant Cerberus was served on March 27, 2023.

       4.       On March 23, 2023, Plaintiffs filed the PI Motion, which seeks an injunction

prohibiting a proposed merger between Albertsons and Kroger and prohibiting and/or disgorging

                                                  2
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
             Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 3 of 10




the payment of a dividend that Albertsons paid on January 20, 2023 to its shareholders, including

Cerberus.

        5.       On April 3, 2023, this Court granted the Parties’ stipulated request for an order

modifying the briefing schedule and hearing date for the PI Motion (ECF No. 30). It ordered that:

(1) Defendants’ Opposition to Plaintiffs’ PI Motion shall be due April 20, 2023; (2) Plaintiffs’

Reply in Support of the PI Motion shall be due May 4, 2023; and (3) the PI Motion shall be heard

on May 18, 2023.

        6.       Accordingly, without the Court’s approval of this stipulation, the hearing on the PI

Motion would be heard on May 18, 2023; Plaintiffs’ Oppositions to the Motions to Dismiss would

be due April 26 and 27, 2023; Defendants’ Replies in Support of the Motions to Dismiss would be

due May 4, 2023; and the hearing date on the Motions to Dismiss would be held on May 18, 2023.

        7.       Plaintiffs subsequently developed a conflict with the May 18, 2023, hearing date.

        8.       As a result, on April 25, 2023, the Parties presented a second stipulation requesting

that the hearing on the motion for preliminary injunction and the motions to dismiss be scheduled

on June 22, 2023. That request was denied on April 27, 2023 (ECF 63) because the Court is

unavailable in the latter part of June and early July, but the Court indicated that it would be

available on July 20, 2023 or thereabouts.

        9.       Based upon the Court’s Order of April 27, 2023, the Parties now stipulate to and

request the following modified briefing schedule and hearing date set out below to conform to the

Court’s schedule and to allow adequate time to brief and prepare for the PI Motion and the Motions

to Dismiss. Although there has been one prior stipulation modifying the hearing date and briefing

schedule on the PI Motion and one prior stipulation modifying the briefing schedule for the motion

to dismiss, because this case is still in its early stages, because the merger transaction will not close

                                                   3
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
          Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 4 of 10




prior to September 15, 2023, because the Defendants contend the dividend has already been paid,

and because the PI Motion and Motions to Dismiss are the only substantive filings in this court,

granting this stipulation, subject to the convenience of the court, will not prejudice any party.

       10.     Kroger and Albertsons stated in an October 14, 2022, press release announcing that

they had entered into an Agreement and Plan of Merger that the transaction is not expected to close

until 2024. Kroger reiterated this representation on its fourth quarter and full year 2022 earnings

call on March 2, 2023. Plaintiffs have requested that Kroger and Albertsons stipulate that the

transaction will not close prior to September 15, 2023, to allow time for the Court to rule on

Plaintiffs’ Motion for Preliminary Injunction. Consistent with the parties’ previous statements that

the transaction is not anticipated to close until 2024, Kroger and Albertsons hereby stipulate that

the transaction will not close prior to September 15, 2023.

       11.     By Clerk’s Notice on April 27, 2023 (ECF 64), the due date for the Parties’ Joint

Case Management Statement was continued to May 19, 2023, and the Initial Case Management

Conference was continued to May 26, 2023 at 10:00 AM. Counsel for Albertsons has an

immovable conflict on May 26, 2023. The Parties are available to conduct the Initial Case

Management Conference on June 2, 2023 and, subject to the Court’s approval, stipulate that the

Joint Case Management Statement be due May 26, 2023, and that the Initial Case Management

Conference be continued to June 2, 2023 at 10:00 AM, or as soon thereafter as the Court may deem

appropriate.



       Accordingly, IT IS HEREBY STIPULATED AND AGREED, by and between

undersigned counsel and subject to Court approval, as follows:




                                                  4
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
            Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 5 of 10




       1.       The proposed merger between Albertsons and Kroger will close no earlier than

September 15, 2023;

       2.       Plaintiffs’ Oppositions to Defendants’ Motions to Dismiss shall be due no later than

May 11, 2023;

       3.       Defendants’ Replies in Support of Defendants’ Motions to Dismiss shall be due no

later than May 25, 2023;

       4.       The Motion for Preliminary Injunction and Motions to Dismiss shall be heard on

July 27, 2023, or as soon thereafter as the Court may deem appropriate;

       5.       The Parties’ Joint Case Management Statement shall be due no later than May 26,

2023; and

       6.       The Initial Case Management Conference shall be continued to June 2, 2023 at

10:00 AM, or as soon thereafter as the Court may deem appropriate.




                                                 5
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
      Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 6 of 10




Dated: May 3, 2023                  ALIOTO LAW FIRM


                                    By: /s/ Joseph M. Alioto
                                    JOSEPH M. ALIOTO (SBN 42680)
                                    jmalioto@aliotolaw.com
                                    TATIANA V. WALLACE (SBN 233939)
                                    One Sansome Street, Suite 3500
                                    San Francisco, CA 94104
                                    Telephone: (415) 434-8900

                                    LAW OFFICES OF LAWRENCE G. PAPALE
                                    LAWRENCE G. PAPALE (SBN 67068)
                                    lgpapale@papalelaw.com
                                    1308 Main Street, Suite 117
                                    St. Helena, CA 94574
                                    Telephone: (707) 963-1704

                                    NEDEAU LAW PC
                                    CHRISTOPHER A. NEDEAU (SBN 81297)
                                    cnedeau@nedeaulaw.net
                                    154 Baker Street
                                    San Francisco, CA 94117-2111
                                    Telephone: (415) 516-4010

                                    THE VEEN FIRM
                                    JOSEPHINE ALIOTO (SNB 282989)
                                    jalioto@veenfirm.com
                                    20 Haight Street
                                    San Francisco CA 94102
                                    Telephone: (415) 673-4800

                                    LAW OFFICE OF THERESA D. MOORE PC
                                    THERESA MOORE (SBN 99978)
                                    tmoore@aliotolaw.com
                                    One Sansome Street, 35th Floor
                                    San Francisco, CA 94104
                                    Telephone: (415) 613-1414
                                    Attorneys for Plaintiffs




                                       6
 REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                              DATES; [PROPOSED ORDER]
     Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 7 of 10




                                   ARNOLD & PORTER KAYE SCHOLER LLP

                                   By: /s/ Daniel B. Asimow

                                   DANIEL B. ASIMOW (SBN 165661)
                                   daniel.asimow@arnoldporter.com
                                   Three Embarcadero Center, 10th Floor
                                   San Francisco, CA 94111
                                   Telephone: (415) 471-3100
                                   Facsimile:    (415) 471-3400

                                   SONIA K. PFAFFENROTH (SBN 223984)
                                   MATTHEW WOLF (pro hac vice)
                                   MICHAEL B. BERNSTEIN (pro hac vice)
                                   KOLYA D. GLICK (pro hac vice)
                                   sonia.pfaffenroth@arnoldporter.com
                                   matthew.wolf@arnoldporter.com
                                   michael.b.bernstein@arnoldporter.com
                                   kolya.glick@arnoldporter.com
                                   601 Massachusetts Ave., N.W.
                                   Washington, DC 20001
                                   Telephone: (202) 942-5000
                                   Facsimile:    (202) 942-5999

                                   Attorneys for Defendant, THE KROGER CO.

                                   DEBEVOISE & PLIMPTON LLP


                                   By: /s/ John Neukom
                                   JOHN (JAY) NEUKOM (SBN 275887)
                                   jneukom@debevoise.com
                                   650 California Street
                                   San Francisco, CA 94108
                                   Telephone: (415) 738-5700

                                   EDWARD D. HASSI (pro hac vice)
                                   LEAH S. MARTIN (pro hac vice)
                                   thassi@debevoise.com
                                   lmartin@debevoise.com
                                   801 Pennsylvania Avenue, N.W.
                                   Washington, DC 20004
                                   Telephone: (202) 383-8000




                                      7
REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                             DATES; [PROPOSED ORDER]
     Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 8 of 10




                                   SHANNON R. SELDEN (pro hac vice)
                                   J. ROBERT ABRAHAM (pro hac vice)
                                   srselden@debevoise.com
                                   jrabraham@debevoise.com
                                   66 Hudson Boulevard
                                   New York, NY 10001
                                   Telephone: (212) 909-6000

                                   Attorneys for Defendant, ALBERTSONS
                                   COMPANIES, INC.



                                   DECHERT LLP
                                   By: /s/ Russell P. Cohen
                                   Russell P. Cohen
                                   Joseph Trujillo
                                   DECHERT LLP
                                   One Bush Street, Ste. 1600
                                   San Francisco, CA 94104-4446
                                   Telephone: (415) 262-4500
                                   Fax: (415) 262-4555

                                   Andrew J. Levander (admitted pro hac vice)
                                   DECHERT LLP
                                   1095 Avenue of the Americas
                                   New York, NY 10036-6797
                                   Telephone: (212) 698-3500
                                   Fax: (212) 698-3599

                                   Thomas J. Miller (admitted pro hac vice)
                                   DECHERT LLP
                                   2929 Arch Street
                                   Philadelphia, PA 19104
                                   Telephone: (215) 994-4000
                                   Fax: (215) 994-2222

                                   Attorney for Defendant Cerberus Capital Management,
                                   L.P.




                                      8
REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                             DATES; [PROPOSED ORDER]
         Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 9 of 10




                            SIGNATURE ATTESTATION

       I, Lawrence Papale, am the ECF user whose ID and password are being utilized to

electronically file this STIPULATED REQUEST FOR AN ORDER MODIFYING
BRIEFING SCHEDULE AND HEARING DATE FOR PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND MOTIONS TO DISMISS; [PROPOSED
ORDER]. Pursuant to Local Rule 5-1(i)(3), I hereby attest that the other signatories have
concurred in this filing.

DATED: May 3, 2023

                                               /s/ Lawrence Papale
                                               LAWRENCE G. PAPALE




                                           9
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
        Case 3:23-cv-00459-VC Document 66 Filed 05/03/23 Page 10 of 10




                                  [PROPOSED] ORDER

       Having considered the parties’ stipulation, the court hereby ORDERS that the proposed
merger between Kroger and Albertsons will not close prior to September 15, 2023; Plaintiffs’
Oppositions to the Defendants’ Motions to Dismiss shall be due May 11, 2023; Defendants’
Replies in Support of Defendants’ Motions to Dismiss shall be due May 25, 2023; Plaintiffs’
Motion for Preliminary Injunction and Defendants’ Motions to Dismiss shall be heard on July 27,
2023; the Parties’ Joint Case Management Statement shall be due May 26, 2023; and the Initial
Case Management Conference shall occur on June 2, 2023 at 10:00 AM.



       IT IS SO ORDERED.




DATED: May ___ , 2023



                                                   HONORABLE VINCE CHHABRIA
                                                   United States District Judge




                                              10
   REVISED STIPULATED REQUEST FOR AN ORDER MODIFYING BRIEFING SCHEDULE AND HEARING
                                DATES; [PROPOSED ORDER]
